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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA      )
                              )
                              )
v.                            )         Case No. 21-cr-00292-RCL
                              )
CHRISTOPHER WORRELL, et. al., )
                              )
             Defendant        )
                              )




      DEFENDANT’S MOTION TO APPEAR VIA TELECONFERENCE




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      NOW comes Defendant Christopher Worrell by and through his

undersigned counsel of record, William L. Shipley, Esq., and respectfully files

this motion asking the Honorable Court to allow Defendant Worrell to appear

via teleconference for his pretrial conference.

      Defendant Worrell is set to begin trial March 13, 2023. See EFC No. 202.

On February 3, 2023, this Court set a Pretrial Conference for March 6, 2023, at

10:30 AM. See Minute Order 03/06/2023.

      Due to the length of time between Defendant Worrell’s Pretrial

Conference and the commencement of trial, Defendant Worrell requests this

Court to allow him to appear my teleconference due to the financial burden

needing to travel to Washington D.C. twice in a one-week period or the need to

obtain housing for a timeframe of roughly two-weeks.

      WHEREFORE, Defendant Worrell respectfully requests this Honorable

Court to allow him to appear for the Pretrial Conference via telecommunication.



Dated: February 28, 2023              Respectfully submitted,

                                      /s/ William L. Shipley
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